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                                              U.S. Department of Justice

                                              Environment and Natural Resources
                                              Division
90-13-1-17046
P.O. Box 7415                                                   Telephone: (202) 514-4170
Washington, DC 20044                                               jacob.ecker@usdoj.gov




                       [DECIDED NOVEMBER 12, 2024]

                                                         January 23, 2025

VIA CM/ECF

Mr. Mark Langer
Clerk of Court
E. Barrett Prettyman U.S. Courthouse and William B. Bryant Annex
333 Constitution Ave., NW
Washington, D.C. 20001

       Re:      Marin Audubon Society, et al. v. Federal Aviation
                Administration, et al., No. 23-1067, Notice of Supplemental
                Authority under Rule 28(j) on Pending Petitions for
                Rehearing En Banc

Dear Mr. Langer:

      On January 20, 2025, President Trump issued an Executive Order
relevant to one of the two issues presented in our petition for rehearing
en banc. See White House, Presidential Actions, Unleashing American
Energy, Executive Order, available at https://www.whitehouse.gov
/presidential-actions/2025/01/unleashing-american-energy/ (issued Jan.
20, 2025). Section 5 of that Order rescinds Executive Order 11,991,
issued by President Carter in 1977. We relied on that now-rescinded
executive order in our second argument for rehearing en banc. See Fed.
Resp. Pet. for Rehearing En Banc pp.15-20.

      We are evaluating the effect of this development on our petition
for rehearing en banc and will update the Court. The Court may wish to
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await the conclusion of our evaluation before disposing of the pending
rehearing petitions.


                                 Respectfully submitted,

                                 s/ Jacob D. Ecker
                                 Jacob D. Ecker
                                 Attorney for Federal Respondents


cc (via CM/ECF):      All counsel of record




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                     CERTIFICATE OF SERVICE

     I hereby certify that on January 23, 2025, I electronically filed the

foregoing letter with the Clerk of the Court using the CM/ECF system,

which will send notice of such filing to all registered CM/ECF users.

                                    s/ Jacob D. Ecker
                                    JACOB D. ECKER

                                    Counsel for Federal Respondents




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